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                           UNITED STATES BANKRUPTCY COURT
                            FOR THE DISTRICT OF COLORADO

 IN RE:                                       )
                                              )
 MESA OIL, INC.                               )
 d/b/a Mesa Environmental                     )
                                              )      Case No. 17-14004-EEB
                                              )
 EIN:     XX-XXXXXXX                          )
                                              )
          Debtor.                             )

               AMENDMENT TO AMENDED PLAN OF REORGANIZATION
                          DATED OCTOBER 25, 2017

          The Debtor, Mesa Oil, Inc. (“Debtor”) by and through its attorneys, Kutner Brinen, P.C.,
 submits its amendment to its Amended Plan of Reorganization Dated October 25, 2017 as
 follows:
    1. Paragraph 4.2.1 is amended to read as follows:
          4.2 - The Allowed Claims of a type specified in Section 507(a)(8) of the Code,
 Tax Claims of governmental taxing authorities, shall be treated as follows:
          4.2.1 – The Internal Revenue Service (“IRS”) holds a priority claim separate
          from its Class 2 Secured Claim.         The IRS’s priority claim shall be paid in
          monthly payments on an amortized basis over a period that does not exceed five
          years from the Petition Date with interest at the applicable statutory rate
          beginning in the first full month following the Effective Date of the Plan.


          Dated: March 6, 2018.               Respectfully submitted,

                                                     By:     /s/ Keri L. Riley
                                                             Jeffrey S. Brinen, #20565
                                                             Keri L. Riley, #47605
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                                    CERTIFICATE OF SERVICE
         The undersigned further certifies that on March 6, 2018, I served by CM/ECF and/or prepaid first
 class mail a copy of the AMENDMENT TO AMENDED PLAN OF REORGANIZATION DATED
 OCTOBER 25, 2017 in accordance with FED. R. BANKR. P. 2002 and 11 U.S.C. § 342(c) (if
 applicable) on all interested parties the movant mailed the foregoing to the following addresses:

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                                                            s/Angela R. Upton
                                                              Angela R. Upton
